I must respectfully dissent from the decision of the majority because I believe the trial court correctly found as a matter of law that the appellee had probable cause to initiate a limited detention of appellant to inquire into the circumstances presented. The shopkeeper's privilege is designed to alleviate the dilemma faced by a merchant observing suspected shoplifting; whether to ignore the activity and absorb the possible loss, or detain a suspect and risk a false imprisonment suit if his suspicions are later shown to be erroneous.
The view of most jurisdictions is that the question of what constitutes probable cause is in essence a construction of the statute which sets a standard to measure the rights and obligations of the parties, and is essentially a question of law to be determined by the court. Annotation, Construction and Effect, in False Imprisonment Action, of Statute Providing for Detention of Suspected Shoplifters (1973), 47 A.L.R.3d 998. See, also, Ashcroft v. Mt. Sinai Medical Center (1990), 68 Ohio App.3d 359
(summary judgment proper where reasonable minds could only conclude guards had probable cause to detain). It was undisputed that appellant placed a bag in her purse. The trial court correctly found that this placed appellee's actions under the protection of R.C. 2935.041. The hindsight fact that it was another store's bag that contained possibly stolen Meijer merchandise changes nothing in the analysis. I would affirm the decision of the trial court.